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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                 __________ District of __________

                  United States of America                           )
                             v.                                      )
                      DAMANI BROWN
                                                                     )       Case No.
                                                                     )                  25-MJ-4085
                                                                     )
                                                                     )
                                                                     )
                          Defendant(s)


                                                CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of               7/27/24 through 8/6/24             in the county of              Monroe               in the
     Western           District of       NY, and elsewhere   , the defendant(s) violated:

            Code Section                                                       Offense Description
18 USC 371                                     Conspiracy
18 USC 1028A                                   Aggravated Identity Theft
18 USC 1029(a)(2) and (b)(2)                   Access Device Fraud and Conspiracy to Commit Access Device Fraud
18 USC 1030(a)() and (b)                      Computer Fraud and Conspiracy to Commit Computer Fraud
18 USC 1344                                    Bank Fraud
18 USC 1349                                    Conspiracy to Commit Bank Fraud



         This criminal complaint is based on these facts:
See the attached Affidavit of Jordan F. Slavik, which is incorporated by reference as if set forth fully herein




             Continued on the attached sheet.


                                                                                               Complainant’s signature

                                                                                        Jordan F. Slavik, Special Agent, FBI
                                                                                                Printed name and title



                                                                               .

Date:         June 24, 2025
                                                                                                  JJudge’s
                                                                                                     d ’ signature
                                                                                                           i t

City and state:                      Rochester, New York                       Colleen D. Holland, United States Magistrate Judge
                                                                                                Printed name and title
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             AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT


STATE OF NEW YORK )
COUNTY OF MONROE )                 ss:
CITY OF ROCHESTER )


       I, JORDAN F. SLAVIK, being first duly sworn, hereby depose and state as follows:


                  INTRODUCTION AND AGENT BACKGROUND


       1.     I am a Special Agent with the Federal Bureau of Investigation and have been

so employed since September 2019. I am currently assigned to the Cyber Squad, Buffalo

Division, in Rochester, New York, where I work on investigations relating to criminal and

national security cyber intrusions.      These investigations specifically focus on unlawful

computer access, nefarious online marketplaces, phishing activity, and online sexual

extortions. I have gained experience through numerous FBI, government, and private sector

t

Training Program and cryptocurrency training curriculum; the Department of Homeland

                                                                            s from SANS on

Cyber Security essentials, Hacking Tools, and Open Source Cyber Investigations; and

certificates from Mandiant on the Cybersecurity Intelligence Cycle, as well as through

everyday work related to these types of investigations. Through my work in cyber-related

investigations, I am familiar with the fundamental operations of the internet, hardware, and

software, and the communication protocols across each. As a Special Agent with the FBI, I

am empowered by law to investigate and make arrests for offenses against the United States.




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         2.   As detailed below, I make this affidavit in support of a criminal complaint

charging Damani Brown (                BROWN ) with violations of Title 18, United States

Code, Sections 371 (Conspiracy), 1028A (Aggravated Identity Theft), 1029(a)(2) and (b)(2)

(Access Device Fraud and Conspiracy to Commit Access Device Fraud), 1030(a)(4) and (b)

(Computer Fraud and Conspiracy to Commit Computer Fraud), 1344 (Bank Fraud), and

1349 (Conspiracy to Commit Bank Fraud)

               .


         3.   In summary, beginning on or about July 27, 2024, through and including on or

about August 6, 2024, BROWN conspired with another person(s) to defraud a victim bank

located in the Western District of New York                                        by gaining

unauthorized access to 12             online accounts and using that access to transfer funds

out of                      accounts without their knowledge or permission.


         4.   BROWN was an employee of the BANK. BROWN used his employee access

to look up sensitive customer information, including bank account and social security

numbers, and then provided that information to his co-conspirator(s). The co-conspirator(s),

in turn, used this customer information to gain unauthorized access to

online accounts and transfer money out of their bank accounts.


         5.   As a result of this conspiracy, BROWN and his co-conspirator(s) stole

approximately $327,000 from the BANK and its customers.


         6.   This affidavit is intended to show that there is probable cause for the requested

criminal complaint and does not set forth all my knowledge about this matter.



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       7.       The facts contained in this affidavit are based upon my personal involvement

in this investigation and information provided to me by other law enforcement agents and

private companies.


                                    PROBABLE CAUSE


       A.


       8.       The BANK provides each of its customers with an online account. Through

that online account, customers can review their bank account information and transfer funds.


       9.       In order to access an online account, a customer first needs to register that

account.


       10.      Ac

her bank member number and social security number, as a means of authenticating the

             identity.


       11.      When registering an online account, a customer also needs to provide an email

address. The BANK automatically sends an authentication email that contains a verification

code to the provided email address. The customer then enters the verification code to

complete the online account registration.


       12.      Finally, a customer is



you are the rightful owner of all Content and the Accounts linked for the purposes of the




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Online Money Movement Service; and that you are rightfully authorizing us to access the

Accounts.


       B.     BROWN uses his employee access to look up customer information
              and provide it to his co-conspirator(s)


       13.    In or around August 2024, the BANK reported to the FBI that, between on or

about July 27, 2024, and on or about August 6, 2024, someone accessed the online accounts

of approximately 12 BANK customers and transferred funds out of those accounts, without




       14.    Following the incidents, the BANK conducted an internal review of the



of this review, the BANK was able to determine that a specific BANK employee, BROWN,



time that those accounts were unlawfully accessed.


       15.    At the time that BROWN

the victim customers were at a BANK branch or seeking assistance from BROWN.


       16.    Through these lookups, BROWN was able to see whether the victim customers

had ever registered their online accounts. BROWN was also able to see the victim customers

BANK member number and social security number.


       17.    Shortly after BROWN performed a lookup (typically on the same day), a co-

conspirator(s) registered the victim customer s online account.




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       18.    BANK records showed that, the co-conspirator(s) used

BANK member number and social security number when

online accounts.


       19.    The co-conspirator(s)                             Terms & Conditions and, in

this way, falsely represented to the BANK that the co-conspirator(s) was each victim and was




       20.    Also while creating these online accounts, the co-conspirator(s) provided

Google email accounts



                                 ) for verification.


       21.    Once the co-conspirator(s) provided a Target Account

automatically sent a verification code to that Target Account. The co-conspirator(s) then

obtained the access code from the Target Account and completed the registration process.


       22.    The victim customers were unaware that their online accounts had been

accessed and had not given anyone permission to do so.


       23.    Once the online accounts were accessed

knowledge or consent, BROWN and/or his co-conspirator(s) transferred money from the



knowledge or consent.


       24.    In total, BROWN and/or his co-conspirator(s) transferred approximately

$477,000 from 12

                                              5
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       25.    BROWN and/or his co-conspirator(s) transferred t

to other, third-party accounts held at the BANK.


       26.    Ultimately                                                                were

withdrawn as cash from various local branches. Some additional funds were also transferred

through CashApp.


       27.    The third parties who received the unauthorized transfers and withdrew the

cash had no apparent relationship to the victim customers.


       28.    Within a few days of these fraudulent transfers, a number of the victims

contacted the BANK to report the unauthorized activity on their accounts. Following these

notifications, the BANK confirmed with all of the victims that they had not accessed their

online accounts, had not allowed anyone else to access their online accounts on their behalf,

and had not requested or authorized any of the transfers.


       C.     Victim Customer 9


       29.    As an example of how this conspiracy worked, the following paragraphs detail

when and how Victim Customer 9                                   , accessed, and used to steal

funds from Victim Customer 9.


       30.                                         n or about July 31, 2024, at approximately

1:45 PM, BROWN looked up the account information for Victim Customer 9.




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       31.    The next day, on or about August 1, 2024, BROWN or his co-conspirator(s)

                                member number and social security number to register Victim




       32.

phone number is XXX-XXX-0530.


       33.    Toll records from AT&T showed that, on or about August 6, 2024, BROWN

called phone number XXX-XXX-9021 three times. The first two calls were 0 seconds in

duration, the third call was 2 seconds.


       34.    BROWN called using an Apple iPhone 14 Pro bearing IMEI 35715467992507.


       35.    According to open-source research and NYSP records, the phone number

XXX-XXX-9021 has been assigned to an individual who will hereinafter be referred to as

Subject A since at least July 26, 2024.


       36.    While registering Victim Customer 9                       BROWN or his co-

conspirator(s) provided the email address jonbaggie@icloud.com (i.e., the Apple Target

Account).


       37.    The same day that BROWN called phone number XXX-XXX-9021 three

times, on or about August 6, 2024, BROWN and/or his co-conspirator(s) accessed

online account and used it to transfer approximately $30,436.70 out of Victim Customer 9

BANK accounts.




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       38.                                            interviewed Victim Customer 9 and

he/she confirmed that he/she never registered the online account, never gave anyone

permission to register the online account, and never gave anyone permission to transfer

$30,436.70 out of that account.


       D.     Search of the Apple Target Account


       39.    On or about February 24, 2025, the FBI obtained a warrant, signed by the Hon.

Mark W. Pedersen, to search the Apple Target Account. Upon executing that warrant, law

enforcement found the following:


       40.    The Apple Target Account was created on May 27, 2024, using phone number

XXX-XXX-3011, which was maintained by the phone provider TextMe. According to

records obtained from TextMe, XXX-XXX-3011 was registered using IP Address

104.229.205.25                              .


       41.    According to records obtained from Charter Communications, IP Address 1

was assigned to Subject A from January 2, 2020, through July 14, 2024.


       42.    IP Address 1 was used to access the Apple Target Account three times on May

28, 2024, the day after the account was created.


       43.    IP   Address    2603:7081:1d00:5b87:8c7a:1565:5fa8:7b39

             was used to access the Apple Target Account once on May 31, 2024, four times

on June 1, 2024, once on June 3, 2024, and once on June 25, 2024. According to records

obtained from Charter Communications, IP Address 2 was assigned to Subject A from

December 17, 2020, to July 18, 2024.

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        44.      IP address 2603:7081:1d00:5b87:6caa:ca9d:4756:791c

    was also used to access the Apple Target Account on June 25, 2024. According to records

obtained from Charter Communications, IP address 3 was assigned to Subject A from

January 2, 2020, through July 14, 2024.


        45.      T-Mobile IP Address 172.59.176.152                             was used to

access the Apple Target Account on July 25, 2024. Less than 24 hours later, IP Address 4

was used to access                                     .


        46.      On or about July 25, 2024, and every day between July 27, 2024, and August

8, 2024, 14 other IP addresses were used to access the Apple Target Account. All of these IP

addresses were T-Mobile IP addresses. According to records obtained from T-Mobile, the

company had not maintained any subscriber records for these additional IP Addresses.

According to T-Mobile, the company does not keep records on certain IP Addresses as part

of its policy.


        47.      A number of IP addresses connected to the Apple Target Account between

May 31, 2024, and August 8, 2024 including IP Address 2, which was assigned to Subject

A, and the 14 T-Mobile IP addresses described above         were associated with automatic

updates carried out by Apple for Applications including Facebook, Instagram, and TextMe.

Based upon the connection logs provided by Apple, all of these connections were made by

the same device (global_unique_id 00008110-00027CD41E38801E) and associated with the

same iCloud account (person_id 21753411356). Based on my training and experience, I know

that this indicates that the same device was used to access the Apple Target Account between

May 31, 2024, and August 8, 2024.


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48.                                               included the following images:


      a. A picture of an iPhone with a picture of a computer screen, which showed a

         BANK employee access page, where an employee could query BANK

         customer information. On the page were lookups for different BANK

         customers, including Victim Customer 1, as shown (with redactions) below:




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   b. Five pictures of what appears to be the same iPhone with pictures of victim



      shown (with redactions) below:




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   c. Screenshots showing the successful online transfer of funds out of Victim

      Customer                      , as shown (with redactions) below:




   d. Screenshots showing online account access to and the successful online transfer

      of funds out of Victim Customer




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   e. Screenshots showing the online account registration for Victim Customer 3 as

      well as the successful online transfer of funds out of Victim Customer

      BANK account.


   f. Screenshots of the online transfer of funds out of Victim Customer

      account.


   g. A screenshot of the successful online transfer of funds out of Victim Customer




   h. A screenshot showing the online account registration for Victim Customer 7.


   i. A screenshot showing the online account registration for Victim Customer 8.


   j. A screenshot showing the CashApp account that was used to receive stolen

      funds from Victim Customer       bank account.


   k. A screenshot showing the online account registration for Victim Customer 10.




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   l. A screenshot of a conversation on Telegram with Telegram user        , in

                       provided the name, bank account number, social security

      number, phone number, DOB, and address of Victim Customer 10, as shown

      (with redactions) below:




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      The FBI was not able to obtain subscriber information associated with the



      open-source research, that BROWN

                                                                 The accounts also

      contained profile pictures of BROWN. Based on the similarity of the



      set forth herein, and my training and experience in the investigation of

      cybercrimes, I respectfully submit that there is probable cause to believe that



      author of the correspondence pictured above.




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   m.



        victims who appeared to be customers at the same BANK, as shown (with

        redactions) below:




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       49.    The FBI showed the images described in Paragraph 48 to the BANK, and the

BANK confirmed that some of the

                                                          Specifically, the pictures showed the

date, time, location, and terminal station used to look up the information displayed in the

photo. These matched                                                  activity on the network.

Moreover, the BANK confirmed that the customers seen in the pictures being queried,

including Victim Customer 1, had only been queried by BROWN at that time.


       50.    Based on this evidence and my training and experience in similar

investigations, I respectfully submit that these images establish probable cause to believe that

BROWN used his iPhone 14 or a similar device to take pictures of the customer information

that he looked up and then send that information to his co-conspirator(s).


       E.     Search of the Google Target Accounts


       51.    On or about January 11, 2025, the FBI obtained a warrant, signed by the Hon.

Mark W. Pedersen, to search the Google Target Accounts for evidence of the TARGET

OFFENSES.


       52.    Upon executing that warrant, law enforcement found verification emails sent

from the BANK containing one-time password (OTP) codes and notification emails sent from

the BANK with updates regarding the                          online accounts, including email

updates, password resets, and account freezes.


       53.                                                       Google Target Accounts had

at least one IP Address that was used to access another Google Target Account. Similarly,


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all but one of the Google Target Accounts linked to at least one other Google Target Account

through website cookies. Based upon my training and experience, I know that website cookies

are small files                                                during a browsing session. The

Google Target Accounts were accessed from the same device and browsing session, indicating

that the same individual accessed the accounts.


       54.        The Apple Target Account was accessed using the same IP Addresses that also

accessed six of the Google Target Accounts, indicating that the same individual accessed both

the Google Target Accounts and the Apple Target Account.




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                                      CONCLUSION


       55.    Based on the foregoing, I respectfully submit that there is probable cause to

believe that BROWN committed the TARGET OFFENSES.


                                                   Respectfully Submitted,


                                                   __________________________
                                                   JORDAN F. SLAVIK
                                                   Special Agent
                                                   Federal Bureau of Investigation


Affidavit submitted electronically by email in .pdf
format. Oath administered and contents and
signature attested to me and before me as true and
accurate telephonically pursuant to Fed. R. Crim.
                          24 2025.
P. 4.1 and 4(d) on June _____,




HON. COLLEEN
      COLLEEN D.  D HOLLAND
                      H LL
                      HO  L AND
United States Magistrate Judge




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